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Attorneys for Defendant Apple Inc.

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,                     Civil Action No. 2:24-cv-04055
                                                                 (JXN-LDW)
                       v.

APPLE INC.,
                       Defendant.


               REQUEST BY LOCAL COUNSEL FOR PRO HAC VICE
              ATTORNEY TO RECEIVE ELECTRONIC NOTIFICATION

        Request is hereby made by local counsel for pro hac vice counsel, Mary Elizabeth Miller,
to receive electronic notification in the within matter, and it is represented that:

       1.     An Order of the Court granting a motion for Mary Elizabeth Miller to appear pro
              hac vice in the within matter was entered on June 10, 2024; and

       2.     The Admission Fee, in the amount of $250.00, pursuant to L. Civ. R. 101.1(c)(3),
              has been paid to the Clerk of the Court.

Dated: June 12, 2024                               s/Liza M. Walsh
                                                   Liza M. Walsh
                                                   Douglas E. Arpert
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